                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

Levita Simmons, Administrator of the        CASE NO. 6:21-cv-02036
Estate of Arthur Scott, and Jeffrey
Orvis, Administrator of the Estate of
James Orvis,

                              Plaintiffs,

vs.

Tyson Foods, Inc., doing business as
Tyson Pet Products, and Tyson Fresh
Meats Group, a wholly owned
subsidiary of Tyson Foods, Inc., John
H. Tyson, Noel W. White, Dean Banks,
Steven R. Stouffer, Tom Brower, Mary
A. Oleksink, Elizabeth Croston, Scott
Walston, David Scott, Tom Hart, Cody
Brustkern, John Casey, Bret Tapken,
Hamdija Beganovic, Ramiz Mujelic,
and Unknown Plant Managers and
Supervisors at Tyson Waterloo Plant
and Unknown Plant Managers and
Supervisors at Tyson Independence
Plant,

                            Defendants.



                   INDIVIDUAL DEFENDANTS
          JOHN H. TYSON, NOEL W. WHITE, DEAN BANKS,
      STEVEN R. STOUFFER, TOM BROWER, MARY A. OLEKSINK,
          ELIZABETH CROSTON, SCOTT WALSTON, DAVID
                  SCOTT, and RAMIZ MUJELIC’S
                      MOTION TO DISMISS

                          (Oral Argument Requested)

      Defendants John H. Tyson, Noel W. White, Dean Banks, Steven R. Stouffer, Tom
Brower, Mary A. Oleksink, Elizabeth Croston, Scott Walston, David Scott, and Ramiz



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Mujelic (collectively, the “Individual Defendants”) join the Motion to Dismiss filed in

this case by Tyson Foods, Inc. and Tyson Fresh Meats Group (“Tyson”), and respect-

fully request dismissal of the claim asserted against them on the grounds set forth in

that motion.

    In addition, the Individual Defendants move for dismissal with prejudice under

Rule 12(b)(6) on the additional grounds that the claim against them is barred by the

Iowa Workers’ Compensation Act, and because the complaint fails to plausibly allege

that the Individual Defendants caused the alleged injury, and even if the allegations

were otherwise sufficient, the alleged cause of action would be barred by the Iowa

“COVID-19 Response and Back-to-Business Limited Liability Act” and preempted by

federal law. This Motion is supported by the attached Brief in Support of Motion to

Dismiss pursuant to Local Rule 7.

    WHEREFORE, the Individual Defendants respectfully request this Court dis-

miss Plaintiffs’ complaint and for such further relief as the Court deems just and

necessary.

 Dated: June 28, 2021                       Respectfully submitted,



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                                STOUFFER, TOM BROWER,
                                MARY A. OLEKSINK, ELIZABETH
                                CROSTON, SCOTT WALSTON,
                                DAVID SCOTT, AND RAMIZ
                                MUJELIC




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on June 28, 2021, a true and correct copy of the foregoing

document was served upon all counsel of record via the Court’s CM/ECF system as

follows:

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                                                 /s/ Kevin J. Driscoll




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